      Case 1:22-cr-00015-APM      Document 12     Filed 01/24/22   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,               )
                                        )
      V.                                )    CRIMINAL NO. 1:22cr15-APM
                                        )
                                        )
BRIAN ULRICH,                           )
                                        )
      Defendant.                        )


           MOTION FOR PROTECTION DURING CRIMINAL TRIAL

      COMES NOW, A. J. BALBO, lead counsel for Defendant Brian Ulrich, who

requests the Court grant him protection while engaged in the criminal trial of United

States of America v. Travis McMichael, Gregory McMichael and William “Roddie”

Bryan, Case No: 2:21-CR-22 for the following dates:

      a)     January 26, 2022 through and including February 25, 2022.

      Mr. Balbo, an attorney of record before this Court in the case listed above,

requests that this Motion for Protection be applicable to all proceedings that might

otherwise be scheduled in the case.

      This 24th day of January, 2022.

                                             Respectfully submitted,

                                             /s A. J. Balbo
                                             A. J. Balbo, Esq.
                                             Balbo & Gregg, Attorneys at Law, P.C.
                                             11258 Ford Avenue, Ste. 11
                                             Richmond Hill, Georgia 31324
                                             912-459-1776 – Telephone
                                             912-459-1777 – Facsimile
                                             aj@balbogregg.com
                                             Georgia Bar No. 142606
       Case 1:22-cr-00015-APM         Document 12    Filed 01/24/22   Page 2 of 2




                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.


       This 24th day of January, 2022.


                                          Respectfully submitted,

                                          /s A. J. Balbo
                                          A. J. Balbo, Esq.
                                          Balbo & Gregg, Attorneys at Law, P.C.
                                          11258 Ford Avenue, Ste. 11
                                          Richmond Hill, Georgia 31324
                                          912-459-1776 – Telephone
                                          912-459-1777 – Facsimile
                                          aj@balbogregg.com
                                          Georgia Bar No. 142606
